UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF WISCONSIN

MILWAUKEE DIVISION
Erika McGhee Case No.:
1505 Big Bend Road, Apt 208
Waukesha, WI 53189
Judge:
Plaintiff,
COMPLAINT FOR DAMAGES
v. UNDER THE FAIR DEBT COLLECTION
PRACTICES ACT AND OTHER
Delanor, Kemper & Associates, LLC EQUITABLE RELIEF
c/o Michael S. Goode, Registered Agent
5 South Public Square
Cartersville, GA 30120 JURY DEMAND ENDORSED HEREIN
Defendant.

 

 

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JURISDICTION AND VENUE

. Jurisdiction is founded on 28 U.S.C. §1331 pursuant to the Fair Debt Collection Practices

Act (FDCPA), 15 U.S.C. §1692. Venue is proper because a substantial part of the events
giving rise to this claim occurred in this judicial district.

FACTS COMMON TO ALL COUNTS

. Plaintiffis a “consumer” as defined by 15 U.S.C. $1692a(3).

. Plaintiff incurred a “debt” as defined by 15 U.S.C. §1692a(5).

At the time of the communications referenced herein, Defendant either owned the debt or

was retained by the owner to collect the debt.

. Defendant is a “debt collector” as defined by the FDCPA, 15 U.S.C. §1692a(6).

Plaintiff filed this claim within the timeframe permitted under the FDCPA.

. On or around April 20, 2009, Defendant telephoned Plaintiff's cousin (“Thomas”) and left a

voice message.

During this communication, Defendant disclosed to Thomas that Plaintiff owed the debt.

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During this communication, Defendant falsely represented to Thomas that Defendant needed
to contact Plaintiff about possible check fraud committed by Plaintiff.

On or around April 22, 2009, Plaintiff telephoned Defendant.

During this communication, Defendant falsely represented that Plaintiff committed check

fraud.

. During this communication, Defendant threatened to issue a warrant for Plaintiff's arrest if

Plaintiff did not make a payment by April 30, 2009.

. At the time of these communications, Defendant had neither the intent nor ability to have

Plaintiff arrested.

. Defendant damaged Plaintiff emotionally and mentally and caused Plaintiff substantial

anxiety and stress.
Defendant violated the FDCPA.
COUNT ONE

Violation of the Fair Debt Collection Practices Act

. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

Defendant violated 15 U.S.C. §1692c in that it communicated with a third party and failed to
comply with 15 U.S.C. §1692b.
COUNT TWO
Violation of the Fair Debt Collection Practices Act
Plaintiff incorporates each of the preceding allegations as if specifically stated herein.
Defendant violated 15 U.S.C. §1692c in that it communicated with a third party and

disclosed that Plaintiff owed the debt.

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COUNT THREE

Violation of the Fair Debt Collection Practices Act

. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

. Defendant violated 15 U.S.C. §1692e in that it falsely represented the character, amount,

and/or legal status of the debt.
COUNT FOUR

Violation of the Fair Debt Collection Practices Act

. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

Defendant violated 15 U.S.C. §1692e in that it threatened action that could not legally be
taken and/or that was not intended to be taken.
COUNT FIVE

Violation of the Fair Debt Collection Practices Act

. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

5. Defendant violated 15 U.S.C. §1692e by making misrepresentations during its

communications with Plaintiff.
COUNT SIX

Violation of the Fair Debt Collection Practices Act

26. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

. The Defendant violated 15 U.S.C. §1692f in that its actions were unfair and/or

unconscionable means to collect the debt.

JURY DEMAND

. Plaintiff demands a trial by jury.

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PRAYER FOR RELIEF
29. Plaintiff prays for the following relief:
a. Judgment against Defendant for actual damages, statutory damages, and costs and
reasonable attorney’s fees pursuant to 15 U.S.C. §1692k.

b. For such other legal and/or equitable relief as the Court deems appropriate.

RESPECTFULLY SUBMITTED,

Legal Helpers, P.C. -
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Timothy J. Sostrin
233 S. Wacker Dr., Suite 5150
Chicago, IL 60606
Telephone: 866-339-1156
Fax: 312-822-1064

Email: tjs@legalhelpers.com
Attorneys for Plaintiff

 

 

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